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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                             Case No. 17-cr-20008
                                                    Hon. Matthew F. Leitman
v.

BARRY CASTRO,

          Defendant.
________________________________________________________________/

                  ORDER TO SUPPLEMENT MOTION
              FOR COMPASSIONATE RELEASE (ECF No. 54)

      On December 14, 2017, Defendant Barry Castro pleaded guilty in this Court

to one count of conspiracy to possess with intent to distribute a controlled substance

in violation of 21 U.S.C. § 846. (See Rule 11 Plea Agmt., ECF No. 36.) The Court

subsequently sentenced Castro to 120 months imprisonment. (See Judgment, ECF

No. 51, PageID.157.) Castro is currently serving that sentence at USP Victorville in

Adelanto, California.

      On December 19, 2020, Castro sent a letter to this Court in which he asked

for release from custody due, in part, to the ongoing COVID-19 pandemic. (See Ltr.,

ECF No. 54.) The Court will construe Castro’s letter as a motion for compassionate

release pursuant to 18 U.S.C. § 3582(c)(1)(A). Under Section 3582(c)(1)(A), a

defendant may not file a motion for compassionate release until “after the defendant



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has fully exhausted all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from the

receipt of such a request by the warden of the defendant’s facility, whichever is

earlier.” The exhaustion requirement in Section 3582(c)(1)(A) is “mandatory” and

is not subject to any “judge-made exceptions.” United States v. Alam, 960 F.3d 831,

833–36 (6th Cir. 2020).

      Castro has not given the Court enough information to determine whether he

has satisfied this exhaustion requirement. Therefore, the Court DIRECTS Castro

to file a supplement to his motion that informs the Court whether he has submitted

a written request for compassionate release to the warden at USP Victorville. If

Castro has submitted a written request for compassionate release to the warden at

USP Victorville, then Castro shall also inform the Court of the date on which he

submitted the request, whether the warden responded to the request, and the date of

the warden’s response (if any).

      If either (1) Castro has not submitted a request for compassionate release to

the warden, or (2) Castro has submitted such a request but 30 days have not lapsed

since the warden received his request, then the Court will dismiss his current motion

(ECF No. 54) without prejudice. In that event, Castro would be permitted to file a

motion seeking compassionate release upon exhausting his remedies with the

warden.



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      Additionally, Castro has not given the Court enough information to determine

whether he is otherwise qualified for compassionate release. Accordingly, the Court

DIRECTS Castro to use his supplement to also inform the Court why he believes

he qualifies for compassionate release.

       IT IS SO ORDERED.


                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE


Dated: January 11, 2021


       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on January 11, 2021, by electronic means and/or
ordinary mail.

                                              s/Holly A. Monda
                                              Case Manager
                                              (810) 341-9761




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